                   IN THE UNITED STATES DISTRICT COURT
              FOR THE WESTERN DISTRICT OF NORTH CAROLINA
                           BRYSON CITY DIVISION
                                 2:11 mj 12


UNITED STATES OF AMERICA,                      )
                                               )
      Plaintiff                                )
                                               )
      V                                        )               ORDER
                                               )
JUAN JOSE JAIMES GARCIA,                       )
                                               )
      Defendant.                               )



      THIS MATTER is before the court on Sean P. Devereux’s Application for

Admission to Practice Pro Hac Vice of Thomas C. Fagerberg. It appearing that

Thomas C. Fagerberg is a member in good standing with the Texas State Bar and will

be appearing with Sean P. Devereux, a member in good standing with the Bar of this

court, that all admission fees have been paid, and that the email address of the attorney

seeking admission has been provided, the court enters the following Order.

                                     ORDER

      IT IS, THEREFORE, ORDERED that Sean P. Devereux’s Application for

Admission to Practice Pro Hac Vice (#18) of Thomas C. Fagerberg is GRANTED,

and that Thomas C. Fagerberg is ADMITTED to practice, pro hac vice, before the

Bar of this court while associated with Sean P. Devereux.




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                                Signed: September 20, 2011




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